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    6

    7
        Attorneys for Defendants, VAN LINGEN TOWING, INC., VAN LINGEN BODY SHOP,
        INC., ROBERT VAN LINGEN
    8
                            UNITED STATES DISTRICT COURT
    9          FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   10

   11   KILEY DELIEFDE SWAINE,                             Case No. 2:22-cv-00404-MCS-RAO
   12
                Plaintiff,                                 NOTICE OF SETTLEMENT AND
   13                                                      EXECUTION OF SETTLEMENT
        vs.                                                AGREEMENT WITH REGARD TO THE
   14                                                      SPECIAL MOTION TO STRIKE
        CITY OF TORRANCE, CODY                             PLAINTIFF’S SIXTH CLAIM FOR
   15
        WELDIN, CHRISTOPHER TOMSIC,                        RELIEF FOR INTENTIONAL
   16   VAN LINGEN TOWING, INC., VAN                       MISREPRESENTATION / FRAUD.
        LINGEN BODY SHOP, INC., ROBERT
   17   VAN LINGEN and DOES 1 through 10,                  Date: August 29, 2022
        inclusive,                                         Time: 9:00 am
   18
                                                           Place: Courtroom 7C
   19           Defendants.                                United States Courthouse
                                                           350 W. 1st Street, 6th Floor
   20                                                      Los Angeles, CA 90012
   21

   22          TO THE HONORABLE MARK C. SCARSI, UNITED STATES DISTRICT
   23   JUDGE, PARTIES IN INTEREST AND COUNSEL OF RECORD:
   24
               COMES NOW Defendants, VAN LINGEN TOWING, INC., VAN LINGEN BODY
   25
        SHOP, INC., ROBERT VAN LINGEN (collectively, “Defendants” and each a
   26

   27
        “Defendant”), by and through counsel, Louis J. Esbin, Esq., of the Law Offices of Louis

   28   J. Esbin, and Richard A. Marcus, Esq., of the Law Offices of Richard A. Marcus



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        (collectively, “Counsel of Record”), having filed on July 21, 2022, the NOTICE OF
    1

    2   SPECIAL MOTION AND SPECIAL MOTION TO STRIKE PLAINTIFF’S SIXTH CLAIM

    3   FOR RELIEF FOR INTENTIONAL MISREPRESENTATION / FRAUD, ETC. (“Motion”)
    4
        (ECF No. 31), having filed on July 27, 2022, the ERRATA TO SPECIAL MOTION AND
    5
        SPECIAL MOTION TO STRIKE PLAINTIFF’S SIXTH CLAIM FOR RELIEF FOR
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    7
        INTENTIONAL MISREPRESENTATION / FRAUD (“Errata”) (ECF No. 40), with Plaintiff

    8   having filed the Opposition to the Motion (ECF No. 48), and the Court having entered the
    9   ORDER TAKING MOTION (ECF No. [31]) UNDER SUBMISSION (ECF No. 52) prior to
   10
        the last date by which Defendants were to have filed a Reply to the Opposition to the
   11
        Motion, Defendants and Plaintiff now do respectfully submit to this Honorable Court this
   12

   13   NOTICE OF SETTLEMENT AND EXECUTION OF SETTLEMENT AGREEMENT

   14   (“Settlement Agreement”) WITH REGARD TO THE SPECIAL MOTION TO STRIKE
   15
        PLAINTIFF’S          SIXTH        CLAIM         FOR        RELIEF         FOR        INTENTIONAL
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        MISREPRESENTATION / FRAUD (“Notice”), in which Settlement Agreement, among
   17
        other things, it is agreed Plaintiff dismisses Defendants, and each of them, which
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   19   dismissal will be set forth in a separately filed Stipulation Requesting Defendants

   20   Dismissal, and in which Settlement Agreement Plaintiff grants to Defendants a Lien in
   21
        the sum of $35,000, as and for the attorney fees and costs incurred by Defendants, and
   22
        each of them, in the course of this Case, which Lien will be filed in the Case and will be
   23

   24
        payable from any proceeds Plaintiff may recover in the course thereof.

   25   ///
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        ///
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        _______________________________________________________________________________________________________
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                                                           .
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               WHEREFORE, Defendants respectfully request this Court duly consider this
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    2   Notice and the Settlement reached between the Plaintiff and Defendants as resolving

    3   the Motion.
    4
                                                              LAW OFFICES OF LOUIS J. ESBIN
         Dated: August 23, 2022
    5
                                                              /s/ Louis J. Esbin
    6

    7
                                                              LOUIS J. ESBIN, ESQ.
                                                              Attorneys Defendants, VAN LINGEN
    8                                                         TOWING, INC., VAN LINGEN BODY
                                                              SHOP, INC., ROBERT VAN LINGEN
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Case 2:22-cv-00404-MCS-RAO Document 53 Filed 08/23/22 Page 4 of 4 Page ID #:663


                                         PROOF OF SERVICE OF DOCUMENT
    1
        I am over the age of 18 and not a party to this district court case. My business address is:
    2
                                            Law Offices of Louis J. Esbin
    3                          27451 Tourney Road, Suite 120, Valencia, California 91355

    4   A true and correct copy of the foregoing document described NOTICE OF SETTLEMENT AND
        EXECUTION OF SETTLEMENT AGREEMENT WITH REGARD TO THE SPECIAL MOTION TO
    5   STRIKE PLAINTIFF’S SIXTH CLAIM FOR RELIEF FOR INTENTIONAL MISREPRESENTATION /
        FRAUD will be served or was served (a) on the judge in chambers in the form and manner required by
    6   the L.R.; and (b) in the manner indicated below:

    7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to
        controlling General Order(s) and Local Rule(s) (“L.R.”), the foregoing document will be served by the
    8   court via NEF and hyperlink to the document. On August 23, 2022, I checked the CM/ECF docket for this
        district court case and determined that the following person(s) are on the Electronic Mail Notice List to
    9   receive NEF transmission at the email address(es) indicated below:

   10      Jerry Steering (jerrysteering@yahoo.com)         Patrick Desmond (pdesmond@wss-law.com)
           Tom Yu (tyu@pelayes-yu.com)                      Richard A. Marcus
   11      Louis J. Esbin (Louis@Esbinlaw.com)              (Richard@attorneyrichardmarcus.com)

   12                                 Service information continued on attached page

   13   2. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicate method for each person or entity served):
        On August 23, 2022, I served the following person(s) and/or entity(ies) at the last known address(es) in
   14   this district court case by placing a true and correct copy thereof in a sealed envelope in the United
        States Mail, first class, postage prepaid, and/or with an overnight mail service addressed as follows.
   15   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than
        24 hours after the document is filed.
   16
           Hon. Mark C. Scarsi
   17      United States Courthouse
           350 W. 1st Street, 7th Floor, Courtroom 7C
   18      Los Angeles, CA 90012
   19                                 Service information continued on attached page
   20   3. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method
        for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling L.R., on August 23, 2022, I
   21   served the following person(s) and/or entity(ies) by personal delivery, or (for those who consented in
        writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here
   22
        constitutes a declaration that personal delivery on the judge will be completed no later than 24 hours
        after the document is filed
   23
           Jerry Steering (jerrysteering@yahoo.com)          Patrick Desmond (pdesmond@wss-law.com)
           Tom Yu (tyu@pelayes-yu.com)                       Richard A. Marcus
   24
           Louis J. Esbin (Louis@Esbinlaw.com)               (Richard@attorneyrichardmarcus.com)
   25
                                       Service information continued on attached page
        I declare under penalty of perjury under the laws of the United States of America that the foregoing is
   26
        true and correct.
           August 23, 2022                   Linda Dekker                  /s/ Linda Dekker
   27
           Date                           Type Name                        Signature
   28




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        _______________________________________________________________________________________________________
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